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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

    AMANDEEP GYANI, ABBY UTAL,
    DEBORAH TOMAZ, PAULA MARTINEZ,                     Case No. 1:24-cv-22651-BB
    HECTOR ACOSTA, JULEZ BLAKE,
    ALEXANDRIA REESE, and ROYA SAYIED,                 CLASS ACTION
    individually and on behalf of all others
    similarly situated,                                JURY TRIAL DEMANDED

                        Plaintiffs,

              v.

    LULULEMON ATHLETICA INC., and
    LULULEMON USA INC.,

                     Defendants.


             DECLARATION OF PRAVIN R. PATEL IN SUPPORT OF
      DEFENDANTS’ MOTION TO DISMISS THE FIRST AMENDED COMPLAINT

         I, Pravin R. Patel, declare the following under penalty of perjury:

         1.        I am a partner at the law firm Weil, Gotshal & Manges LLP (“Weil”). I am a

  member of the bar of this Court and lead counsel to Defendants lululemon athletica inc. and

  lululemon USA inc. (“Defendants” or “lululemon”) in this action. I submit this Declaration in

  support of Defendants’ Motion to Dismiss the First Amended Complaint (the “Motion”).

         2.        True and correct copies of the following documents cited in the Incorporated

  Memorandum of Law in Support of the Motion are attached as Exhibits A through I:

         3.        Attached hereto as Exhibit A is a true and correct copy of Press Release, lululemon

  athletica Inc. Releases Impact Agenda, Unveiling its Social and Environmental Goals and

  Strategies       to         Create    a      Healthier      Future       (Oct.      28,      2020),

  https://corporate.lululemon.com/media/press-releases/2020/10-28-2020-085826103.
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            4.       Attached hereto as Exhibit B is a true and correct copy of lululemon’s 2020 Impact

  Agenda,         https://corporate.lululemon.com/~/media/Files/L/Lululemon/our-impact/2020-impact-

  agenda.pdf.

            5.       Attached hereto as Exhibit C is a true and correct copy of lululemon’s 2020 Impact

  Report,        https://corporate.lululemon.com/~/media/Files/L/Lululemon/our-impact/reporting-and-

  disclosure/lululemon-2020-full-impact-report.pdf.

            6.       Attached hereto as Exhibit D is a true and correct copy of lululemon’s 2022 Impact

  Report,        https://corporate.lululemon.com/~/media/Files/L/Lululemon/our-impact/reporting-and-

  disclosure/lululemon-2022-impact-report.pdf.

            7.       Attached hereto as Exhibit E is a true and correct copy of lululemon’s 2023 Impact

  Report,        https://corporate.lululemon.com/~/media/Files/L/Lululemon/our-impact/reporting-and-

  disclosure/2023-lululemon-impact-report.pdf.

            8.       Attached hereto as Exhibit F is a true and correct copy of Press Release, lululemon

  Announces Five-Year Growth Plan to Double Revenue by 2026 to $12.5 Billion (Apr. 20, 2022),

  https://corporate.lululemon.com/media/press-releases/2022/04-20-2022-

  113017957#:~:text=Leveraging%20its%20proven%20formula%20and%20supported%20by%20

  the.

            9.       Attached hereto as Exhibit G is a true and correct copy of lululemon’s 2022 Annual

  Report,                https://corporate.lululemon.com/~/media/Files/L/Lululemon/investors/annual-

  reports/lululemon-2022-annual-report.pdf.

            10.      Attached hereto as Exhibit H is a true and correct copy of Press Release, lululemon

  Delivers on its Impact Agenda Commitments with Two New Sustainability Initiatives Launching




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  in May (Apr. 2021), https://corporate.lululemon.com/media/press-releases/2021/04-20-2021-

  085727212.

         11.    Attached hereto as Exhibit I is a true and correct copy of lululemon’s 2020 Impact

  Summary,      https://corporate.lululemon.com/~/media/Files/L/Lululemon/our-impact/reporting-

  and-disclosure/lululemon-2020-impact-summary-en110521.pdf.

         I declare under penalty of perjury that the foregoing is true and correct, and that this

  declaration was executed pursuant to 28 U.S.C. § 1746(2) on September 30, 2024.

  Dated: September 30, 2024                                /s/ Pravin R. Patel
         Miami, Florida                                     Pravin R. Patel
                                                            Florida Bar No. 0099939
                                                            Weil, Gotshal & Manges LLP
                                                            1395 Brickell Ave, Suite 1200
                                                            Miami, Florida 33131
                                                            Tel: (305) 577-3100
                                                            Pravin.Patel@weil.com

                                                           Counsel for Defendants lululemon
                                                           athletica inc. and lululemon USA inc.




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